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                      11   UNIVERSITY OF SOUTHERN
                      12
                           CALIFORNIA

                      13
                                                UNITED STATES DISTRICT COURT
                      14
                                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      15

                      16
                           ANNUNZIATA CRUPI, an Individual,          Case No.:
                      17
                                          Plaintiff,                 NOTICE OF REMOVAL
                      18

                      19         v.                                  Trial Date:
                                                                     Date Action Filed: May 19, 2023
                      20   UNIVERSITY OF SOUTHERN
                           CALIFORNIA, a California Corporation
                      21
                           and a Private Academic Institution;
                      22   VALTER LONGO, an Individual;
                           SEBASTIAN BRANDHORST, an
                      23
                           Individual; WENDY SNAER, an
                      24   Individual; and DOES 1 through 100,
                      25
                           inclusive,

                      26                  Defendants.
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VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW                                                                    NOTICE OF REMOVAL
     SAN FRANCISCO
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                       1          Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant University of Southern
                       2   California (“Defendant” or “USC”) removes this action from the Superior Court of
                       3   the State of California for the County of Los Angeles to the United States District
                       4   Court for the Central District of California. Plaintiff Annunziata Crupi’s (“Plaintiff”)
                       5   claims arise under federal law, or arise from the same case or controversy as those
                       6   that arise under federal law, and thus removal is proper. For the same reasons, and
                       7   pursuant to 28 U.S.C. §§ 1331 and 1367(a), jurisdiction is also proper.
                       8          A.     PLAINTIFF’S CLAIMS AND REMEDIES SOUGHT
                       9          1.     Plaintiff’s Complaint (“Complaint”) was filed in the state court on May
                      10   19, 2023. Defendant was served with the Complaint on May 25, 2023. A true and
                      11   correct copy of the Complaint, and all other documents available on the court docket
                      12   for Los Angeles County Superior Court Case No. 23STCV11353, are attached hereto
                      13   as Exhibit A to the Declaration of Peter Walrod in Support of Notice of Removal, ¶
                      14   2.
                      15          2.     Defendant filed and served an Answer to the Complaint on June 23,
                      16   2023, in Los Angeles Superior Court. A true and correct copy of the Answer,
                      17   including executed proof of service on Plaintiff enclosed therewithin, is attached
                      18   hereto as Exhibit B to the Declaration of Peter Walrod in Support of Notice of
                      19   Removal, ¶ 3.
                      20          3.     Plaintiff purports to bring the following claims against Defendant in her
                      21   Complaint: (1) Whistleblowing Retaliation in Violation of [California] Labor Code
                      22   § 1102.5; (2) Wrongful Termination in Violation of Public Policy; (4)1 Breach of
                      23   Contract in violation of Federal Regulations [citing 2 C.F.R. § 200.400(f)] and USC’s
                      24   policies; (5) Intellectual property theft in violation of U.S. Code § 1832 Theft of trade
                      25   secrets; (6) Missed overtime pay in violation of the Fair Labor Standards Act, Federal
                      26   Regulations and of USC’s policies; (7) Violation of Wages and the Fair Labor
                      27
                           1
                            Plaintiff’s Third Claim, for Misappropriation in violation of the Identity Theft and Assumption
                      28   Deterrence Act, brought pursuant to 18 U.S.C. § 1028, is not brought against Defendant.
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                       1   Standards Act; (8) Fraudulent inducement of employment in violation of Labor Code
                       2   LAB § 970-972 Code § 1709-1710; (9) Fraud in employment in violation of
                       3   [California] Civil Code; (10) Solicitation of employment via false advertising in
                       4   violation of California Business and Professions Code; (11) False descriptions in
                       5   violation of US law on Commerce and Trade 15 U.S.C. § 1125(a); and (14 [sic])2
                       6   Intentional and Negligent Infliction of Emotional Distress in violation of Tort law
                       7   and Civil Rights. Plaintiff makes numerous contentions that Defendant violated
                       8   international law (see Plaintiff’s Complaint [“Compl.”] ¶ 64), Constitutional law
                       9   (see, id. at ¶140), federal statutes and regulations (see, e.g., id. at ¶¶ 124-125 [alleging
                      10   violations of 18 U.S.C. § 1832]; 188 [alleging violations of 15 U.S.C. § 1125]), and
                      11   state law in connection with Plaintiff’s employment with Defendant.
                      12          4.     Plaintiff seeks monetary damages (including actual, statutory, purported
                      13   penalties, and punitive damages) associated with the alleged misconduct of
                      14   Defendant, together with costs and attorneys’ fees.
                      15          B.     REMOVAL BASED ON FEDERAL QUESTION
                      16                 JURISDICTION AND THE COURT’S JURISDICTION
                      17          5.     Plaintiff’s Complaint asserts the following claims that are based on
                      18   federal statutes and regulations: “breach of contract in violation of federal
                      19   regulations…” citing 2 C.F.R. § 200.400(f); Theft of trade secrets under 18 U.S.C. §
                      20   1832; violation of the Fair Labor Standards Act (“FLSA”) under 28 U.S.C. §§ 203,
                      21   et seq.; and false advertising under 15 U.S.C. § 1125. (See Exhibit A, Compl. ¶¶ 102
                      22   [2 C.F.R. § 200.400(f)]; 125 [18 U.S.C. § 1832]; 130 [FLSA regulations]; 139
                      23   [FLSA]; and 188 [15 U.S.C. § 1125]).
                      24          6.     Thus, on the face of Plaintiff’s Complaint, this case is one over which
                      25   this Court has original jurisdiction under 28 U.S.C. § 1331, and which is removable
                      26   by Defendant under the provisions of 28 U.S.C. § 1441 because Plaintiff’s claims are
                      27   2
                            Plaintiff’s Twelfth Claim, for Civil Conspiracy in violation of the Restatement
                      28   (Third) of Torts, is not brought against Defendant.
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                       1   founded on a claim or right arising under the Constitution, treaties or laws of the
                       2   United States.
                       3         7.     Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental
                       4   jurisdiction over the state law claims in the Complaint because they are so closely
                       5   related to the federal law claims that they form part of the same case or controversy.
                       6   Like her federal law claims, Plaintiff’s state law claims relate to alleged violations of
                       7   state law by Defendant that arose in connection with Plaintiff’s employment
                       8   relationship with Defendant.
                       9         8.     All of the claims arise from the nucleus of operative facts—the
                      10   circumstances of Plaintiff’s employment with Defendant. These include state law
                      11   claims for whistleblower retaliation and wrongful termination, fraudulent
                      12   inducement of employment and wrongful solicitation of employment. Plaintiff’s
                      13   intentional and negligent infliction of emotional distress claims also stem from
                      14   Plaintiff’s employment with Defendant (see, e.g., Exhibit A, Compl., ¶ 205
                      15   [Defendant “has recruited, hired, and re-employed Claimant with the purpose of
                      16   narcissistically using and abusing Claimant”]).
                      17         9.     Moreover, none of the state law claims alleged by Plaintiff raise novel
                      18   or complex issues of state law or substantially predominate over the federal law
                      19   claims, and there are no other exceptional circumstances requiring this Court to
                      20   decline jurisdiction. 28 U.S.C. § 1367(c).
                      21         10.    Thus, since all of Plaintiff’s claims form part of the same case or
                      22   controversy, supplemental jurisdiction over them is appropriate.
                      23         11.    There are four identified Defendants in this case, including USC. None
                      24   of the other co-Defendants have been served. Declaration of Peter Walrod in Support
                      25   of Notice of Removal, ¶ 5. Accordingly, USC, the only Defendant to have been
                      26   served in this case, is the only party that seeks removal. See Destfino v. Reiswig, 630
                      27   F.3d 952, 957 (9th Cir. 2011) (removal is proper even if unserved defendants do not
                      28   join removal).
VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW                                                  -4-                       NOTICE OF REMOVAL
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                       1         C.     PROCEDURE FOR REMOVAL
                       2         12.    Defendant was served with the Complaint in this matter on May 25,
                       3   2023. Defendant timely filed this Notice of Removal within 30 days of the date of
                       4   service on Defendant pursuant to 28 U.S.C. § 1446(b).
                       5         13.    Removal to this Court is proper because the United States District Court
                       6   for the Central District of California is the District Court of the United States for the
                       7   District embracing the Superior Court for the County of Los Angeles, California. 28
                       8   U.S.C. § 84(c).
                       9         14.    A copy of all process, pleadings and orders served upon Defendant are
                      10   attached as Exhibit A in accordance with 28 U.S.C. § 1446(a). Declaration of Peter
                      11   Walrod in Support of Notice of Removal, ¶ 4.
                      12         15.    Defendant is filing notice of the removal of this action with the Superior
                      13   Court for the County of Los Angeles, California in accordance with 28 U.S.C. §
                      14   1446(d). Declaration of Peter Walrod in Support of Notice of Removal, ¶ 6.
                      15         16.    In the event that Plaintiff files a motion or other request to remand,
                      16   Defendant reserves all rights to submit such additional argument and/or evidence in
                      17   support of removal as may be necessary or appropriate, including evidence as to the
                      18   amount in controversy or diversity of citizenship.
                      19         17.    By filing this Notice of Removal, Defendant does not waive any defense
                      20   to the Complaint.
                      21

                      22
                           Dated:       June 23, 2023                   Respectfully submitted,
                                                                        VEDDER PRICE (CA), LLP
                      23

                      24                                                By: /s/ Peter Walrod
                                                                           Peter Walrod
                      25
                                                                        Attorneys for Defendant
                      26                                                UNIVERSITY OF SOUTHERN
                      27                                                CALIFORNIA
                      28
VEDDER PRICE (CA), LLP
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     SAN FRANCISCO
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VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW                                                                  CERTIFICATE OF SERVICE
     SAN FRANCISCO
